                     Exhibit A




Case 4:24-cv-00051-M-RN   Document 64-1   Filed 08/28/24   Page 1 of 4
McClurg, Daniel D.

From:               McKelvey, Terrence M. <Terrence.McKelvey@klgates.com>
Sent:               Tuesday, August 20, 2024 5:55 PM
To:                 avens1@charter.net
Cc:                 McClurg, Daniel D.
Subject:            RE: Avens v. Dixon, et al. [KLG-USE_ACTIVE01.FID3289889]
Attachments:        REPLY to Response to Motion regarding [49] MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
                    Defendant.pdf


Ms. Avens,

Attached is a copy of the Reply that was filed today in support of ECU Health’s Motion to Dismiss. It is headed to
you in the mail, but wanted to send you a copy by email as well. Also, per my email below and my August 9 letter,
please let us know as soon as possible if you let us know if you intend to initiate steps to remove from the docket
the version of the Settlement Agreement with ECU Health that you filed along with your Response to ECU Health’s
Motion to Dismiss.

Thanks,

Terrence




Terrence M. McKelvey
Partner
K&L Gates LLP
501 Commerce Street, Suite 1500
Nashville, Tennessee 37203
Phone: (615) 780-6757
Fax: (615) 780-6799
terrence.mckelvey@klgates.com
www.klgates.com

From: McKelvey, Terrence M.
Sent: Monday, August 12, 2024 9:10 AM
To: 'avens1@charter.net' <avens1@charter.net>
Cc: McClurg, Daniel D. <Daniel.McClurg@klgates.com>
Subject: RE: Avens v. Dixon, et al. [KLG-USE_ACTIVE01.FID3289889]

I understand that, but please let us know if you intend to initiate steps to remove the filed version of the Settlement
Agreement from the docket since filing it in the public record is a breach of confidentiality provision of the
agreement.




Terrence M. McKelvey
Partner
K&L Gates LLP
                                                           1
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501 Commerce Street, Suite 1500
Nashville, Tennessee 37203
Phone: (615) 780-6757
Fax: (615) 780-6799
terrence.mckelvey@klgates.com
www.klgates.com

From: avens1@charter.net <avens1@charter.net>
Sent: Saturday, August 10, 2024 9:11 PM
To: Graves, Paula K. <Paula.Graves@klgates.com>
Cc: McKelvey, Terrence M. <Terrence.McKelvey@klgates.com>; McClurg, Daniel D. <Daniel.McClurg@klgates.com>
Subject: RE: Avens v. Dixon, et al. [KLG-USE_ACTIVE01.FID3289889]
Dear Mr. McKelvey, As a pro se litigant, I do not have access to electronic filing systems, and all documents must be prepared and mailed manually. Without the resources of legal counsel, the process of preparing documents and ensuring they
ZjQcmQRYFpfptBannerStart




                        This Message Is From an External Sender
                        This message came from outside your organization.

ZjQcmQRYFpfptBannerEnd




Dear Mr. McKelvey,

As a pro se litigant, I do not have access to electronic filing systems, and all documents must be
prepared and mailed manually. Without the resources of legal counsel, the process of preparing
documents and ensuring they meet court standards takes longer for me than for a trained professional.
Given these limitations, the three business days you require for compliance is an unfair expectation.

Sincerely,

Cynthia B. Avens


--------------------

From: "Graves, Paula K." <Paula.Graves@klgates.com>
To: <avens1@charter.net>
Cc: "McKelvey, Terrence M." <Terrence.McKelvey@klgates.com>, "McClurg, Daniel D."
<Daniel.McClurg@klgates.com>
Sent: August 9, 2024 at 5:23 PM EDT
Subject: Avens v. Dixon, et al. [KLG-USE_ACTIVE01.FID3289889]

Mr. McKelvey asked that I forward you the attached letter. A hard copy will not follow unless
requested. Thank you.




                                                                                                                                                                                                                                                         2
                                                                                                                                                   Case 4:24-cv-00051-M-RN                                                                         Document 64-1   Filed 08/28/24   Page 3 of 4
Paula Graves
Senior Practice Assistant
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Nashville, TN 37203
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